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 4
 5                        UNITED STATES DISTRICT COURT
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 7                                DISTRICT OF NEVADA
 8
 9                                       * * *
10
11    UNITED STATES OF AMERICA,     )
                                    )
12              Plaintiff,          )
                                    )
13                                  )
         vs                         )            2:13-cr-250-GMN-VCF
14                                  )
       THOMAS McNAMARA,             )
15                                  )
                Defendant,          )
16    ______________________________)
17                ORDER REQUIRING PAYMENT FOR APPOINTED COUNSEL
18                Pursuant to the provisions of the Criminal Justice Act,
19    18 U.S.C. 3006A, Terrence Jackson, a Criminal Justice Act Panel
20    Attorney was appointed as counsel for the above-named defendant on
21    June 27, 2013.
22          Based upon a review of the defendant’s financial affidavit
23    and other relevant inquiry, the Court now finds that the defendant
24    possesses financial resources sufficient to bear some or all of
25    the cost of his or her representation, i.e., funds are available
26    from or on behalf of the defendant for payment of compensation and
27    expenses of court-appointed counsel and/or for other services
28    necessary for adequate representation.           Accordingly, pursuant to
      the provisions of 18 U.S.C. 3006A(f),
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 2          IT IS ORDERED that the defendant shall reimburse the Treasury
 3    of the United States for the cost of his representation at the
 4    rate of $300.00 per month, payable to the Clerk of the Court for
 5    deposit in the Treasury, as follows: the defendant’s first payment
 6    shall be due on Thursday, August 1, 2013, and subsequent payments
 7    due on the 1st day of each month thereafter until the case has been
 8    concluded.    The total amount of reimbursement shall be determined
 9    by the Court at the conclusion of this case.
10                       1
            Dated this ______ Day of July, 2013.
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                                    C.W. HOFFMAN, JR.,
13                                  UNITED STATES MAGISTRATE JUDGE
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